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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

KEVIN GREENE, STIPULATION OF
DISCONTINUANCE AND
Plaintiff, DISMISSAL PURSUANT
TO RULE 41 (a)(1)
~against-

THE COUNTY OF ULSTER, CORRECTIONS. OFFICER 9:18-cv-640 (TIM/TWD)
SHAWN ROCHE, CORRECTIONS OFFICER KYLE

MANNER, SERGEANT JASON BLEU, SERGEANT

WRANOVICS, and JOHN/JANE DOES 1-100 in their official

capacity and individually, the names being fictitious, as their

entire names are presently unknown,

Defendants.

x

IT IS HEREBY STIPULATED AND AGREED, by and. between the undersigned, the
attorneys of record for all the parties in the above-entitled action, that whereas no party hereto
is an infant or incompetent person for whom a committee has been-appointed and no. person
not a party has an interest in the subject matter of the.action, the above-entitled action be, and
the same hereby is dismissed and discontinued, with prejudice, without costs to either party as
against the other. This stipulation may be filed without further notice with the Clerk of the
Court.

This Stipulation may be signed in. counterpart, and, when taken together, said counterparts
shall constitute but one agreement.

Dated: New York ,New York
Aug: 8 ,2022

LAW OFFICES OF MICHAEL S. MCCABE & MACK LLP

LAMONSOFF, PLLC nfet
: _ ' By:

Kimberly Hunt/lee
Attorneys for Defendants County of
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MURPHY BURNS LLP

By:

Thomas K. Murphy
Attorneys for Defendant Shawn Roche
407 Albany Shaker Road
Loudonville, NY 12211
Tel.-(518) 690-0096

SO ORDERED:

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Hon. mas J. McAvi

Dated: MT hon New York

MSCABE & MACK Lp, ATTORNEYS AT LAW, POST OFFICE BOX £29, POUGHKGEPSIE, NY 12602

